               Case 6:17-bk-07392-CCJ         Doc 82     Filed 07/18/18     Page 1 of 2



                                           ORDERED.

         Dated: July 18, 2018




                         THE UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov


In re:                                                 Case No.: 6:17-bk-07392-CCJ

JASON EARNEST REYNOLDS,

      Debtor(s).
_____________________________/

                                   ORDER DISMISSING CASE

          THIS CASE came before the court for confirmation on July 10, 2018. The court after
reviewing the record and being otherwise advised in the premises, finds that this case cannot be
confirmed and should be dismissed. Accordingly it is
          ORDERED:
          1.     This case is dismissed.
          2.     The automatic stay imposed by 11 U.S.C. Section 362 is terminated.
          3.     The Trustee shall refund all funds on hand, if any, to the Debtor(s) in care of the
Debtor(s) attorney, if represented by an attorney.
          4.     The effective date of this order is delayed fourteen (14) days to permit the
Debtor(s) to file a Notice of Conversion, along with the $25.00 trustee surcharge required by the
Bankruptcy Court Fee Schedule.
                Case 6:17-bk-07392-CCJ        Doc 82     Filed 07/18/18     Page 2 of 2



        5.        If the automatic stay imposed by 11 U.S.C. § 362(a) or § 1301 is in effect at the
time this Order is entered, the stay is extended 14 days from the date of this Order,
notwithstanding the provisions of 11 U.S.C. § 362(c)(2)(B).
        6.        All pending hearings are canceled with the exception of any scheduled hearing on
a Motion for Relief from Stay or on an Order to Show Cause over which the Court reserves
jurisdiction.
        7.        The Debtor, the Trustee, or any party in interest, may, within 14 days from the
date of this Order, request the Court to examine the fees paid to Debtor's attorney and request
disgorgement of any portion deemed excessive. The Court shall retain jurisdiction for this
purpose.
        8.        The Trustee is discharged from any further duties.




Laurie K. Weatherford, Chapter 13 Trustee, is directed to serve a copy of this order on interested
parties and file a proof of service within three (3) days of the entry of the order.
